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                               UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF VERMONT




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In re:
    Kristoph Kleiner.                                                          Case # 21-mc-138
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                                      ORDER
       GRANTING APPLICATION FOR EXEMPTION FROM THE ELECTRONIC PUBLIC ACCESS FEES
      This matter is before the Court upon the application and request by Kristoph Kleiner for an
exemption from the fees imposed by the Electronic Public Access fee schedule adopted by the Judicial
Conference of the United States Courts.
      Based on the application before it, THE COURT FINDS that Kristoph Kleiner, as a researching
at Indiana University, falls within the class of users listed in the fee schedule as being eligible for a fee
exemption, and FURTHER FINDS that Kristoph Kleiner has demonstrated he needs an exemption to
avoid unreasonable burdens and to promote public access to information.
      Accordingly, THE COURT ORDERS that Kristoph Kleiner shall be exempt from the payment
of fees for access via PACER to the electronic case files maintained in this court, to the extent such
use is incurred in the course of his Economics graduate course. This Order does not exempt Kristoph
Kleiner from the payment of fees incurred in connection with other uses of the PACER system in this
court. THE COURT FURTHER ORDERS that the following limitations apply:
1. This fee exemption applies only to Kristoph Kleiner and is valid only for the purposes stated above.
2. This fee exemption applies only to the electronic case files of this court that are available through the
   PACER system.
3. By accepting this exemption, Kristoph Kleiner agrees not to sell for profit any data obtained as a result
   of receiving this exemption.
4. Kristoph Kleiner is prohibited from transferring any data obtained as a result of receiving this exemp-
   tion, including redistribution via internet-based databases.
5. This exemption is valid only until December 31, 2021.
       THE COURT FURTHER ORDERS that this exemption may be revoked at the discretion of
the Court at any time.
       The Clerk is directed to send a copy of this Order to the PACER Service Center.
       SO ORDERED.
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September 30, 2021                                                     Colleen A. Brown
Burlington, Vermont                                                    United States Bankruptcy Judge


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